                           Case 4:13-md-02420-YGR Document 920 Filed 10/28/15 Page 1 of 2

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                      2   MICHAEL C. TING (SBN 247610)




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                                                                                                   D IS T IC T O
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                      8   Attorneys for Plaintiffs Acer Inc., Acer America
                          Corporation, Gateway, Inc., and Gateway U.S. Retail,
                      9   Inc. f/k/a eMachines, Inc.
                   10

                   11                                UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF CALIFORNIA
                   12                                     OAKLAND DIVISION
                   13

                   14     IN RE: LITHIUM ION BATTERY                      Master File No. 4:13-md-02420-YGR (DMR)
                          ANTITRUST LITIGATION                            MDL No. 2420
                   15

                   16     This document is related to:                    Case No. 4:15-cv-01948-YGR
                   17     Case No. 4:15-cv-01948-YGR
                                                                         NOTICE OF VOLUNTARY DISMISSAL OF
                   18     ACER INC., et al.                              DEFENDANT GS YUASA CORPORATION
                   19                          Plaintiffs,
                   20               vs.

                   21     SAMSUNG SDI CO., LTD., et al.
                   22
                                               Defendants.
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T ECH K NOWLEDGE                                                                                    NOTICE OF VOLUNTARY DISMISSAL
L AW G ROUP LLP                                                                                           CASE NO. 4:15-CV-01948-YGR
 ATTO RNEY S AT LAW
 REDWO OD SHORES
                                                                                                         MDL NO. 4-13-MD-02420-YGR
                           Case 4:13-md-02420-YGR Document 920 Filed 10/28/15 Page 2 of 2



                      1            Plaintiffs Acer Inc., Acer America Corporation, Gateway, Inc., and Gateway U.S. Retail,
                      2   Inc. f/k/a eMachines, Inc. hereby notify the Court, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), that
                      3   they are dismissing all claims in this action, without prejudice, against Defendant GS Yuasa
                      4   Corporation, a party that has not yet served an answer or motion for summary judgment.
                      5   Dated: October 23, 2015                           By: /s/ Michael C. Ting
                                                                                 Michael C. Ting
                      6
                                                                            Kaiwen Tseng (SBN 193756)
                      7                                                     Hsiang (“James”) H. Lin (SBN 241472)
                                                                            Michael C. Ting (SBN 247610)
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                                                                            Attorneys for Plaintiffs Acer Inc., Acer
                   14                                                       America Corporation, Gateway, Inc., and
                                                                            Gateway U.S. Retail, Inc. f/k/a eMachines, Inc.
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T ECH K NOWLEDGE                                                                               NOTICE OF VOLUNTARY DISMISSAL
L AW G ROUP LLP
 ATTO RNEY S AT LAW
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 REDWO OD SHORES
                                                                                                    MDL NO. 4-13-MD-02420-YGR
